Case 4:21-cv-10312-FKB-RSW ECF No. 98, PageID.4525 Filed 02/29/24 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


  TRUTEK CORP.,                            Case No. 4:21-cv-10312

                    Plaintiff,             Hon. F. Kay Behm

  v.

 BLUEWILLOW BIOLOGICS, INC.,
 et. al.

                  Defendants.


                                 NOTICE OF APPEAL



       PLEASE TAKE NOTICE, that Plaintiff TRUTEK CORP., hereby appeals to

the United States Court of Appeals for the Federal Circuit, from a Judgment dated

and entered with the Clerk of the Court on February 2, 2024, by the Honorable U.S.

District Judge F. Kay Behm (ECF No. 97).


Dated February 29, 2024               Respectfully Submitted,

                                      /s/ Stanley H. Kremen
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Case 4:21-cv-10312-FKB-RSW ECF No. 98, PageID.4526 Filed 02/29/24 Page 2 of 2




                        CERTIFICATE OF SERVICE

      I certify that on February 29, 2024, I served the foregoing document upon all
parties/counsel of record by filing copies of same using this Court’s CM/ECF
System.


                                             /s/ Stanley H. Kremen




                                       -2-
